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                      IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF UTAH


In re:                                                        Bankruptcy Case No. 21-23636

EMPIRE SOLAR GROUP, LLC,                                                Chapter 7

               Debtor.                                           Honorable Joel T. Marker



              ELEVENTH INTERIM MONTHLY FEE REQUEST OF
                     ROCKY MOUNTAIN ADVISORY, LLC,
                      ACCOUNTANTS FOR THE TRUSTEE
               (SEPTEMBER 1, 2022 through SEPTEMBER 30, 2022)
______________________________________________________________________________
         Rocky Mountain Advisory, LLC. (“RMA”), the court-appointed accountants to Steven R.

Bailey, the duly-appointed Chapter 7 Trustee (the “Trustee”) for the above-captioned estate (the

“Estate”) of Empire Solar Group, LLC (the “Debtor”), and pursuant to the Court’s Order

Establishing Monthly Fee and Expense Reimbursement Procedures, entered on November 4,

2021 [Docket No. 128] (the “Fee Order”), hereby respectfully submits this Tenth Interim Fee

Request (the “Fee Request”) for the period of September 1, 2022 through and including

September 30, 2022 (the “Fee Period”). During the Fee Period, RMA has rendered 72.80 hours

of service to the Trustee for a total amount of $18,241.50 in fees incurred. Pursuant to the Fee

Order, RMA is seeking payment of (i) compensation in an amount equal to eighty percent (80%)

of the total fees sought, or $14,593.20 and (ii) one hundred percent (100%) of the expenses

incurred in the amount of $13.22 for a combined amount equal to $14,606.42. The services are

fully detailed in the invoice attached hereto as Exhibit A.     The invoice contains a chronological

listing of the tasks performed in each matter in which RMA provided services during the billing

period covered by the invoice.
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        I. INTRODUCTION.

        A.     Case Background.

               1. The Debtor commenced the above-captioned chapter 7 bankruptcy proceeding

(the “Bankruptcy Case”) on August 22, 2021 (the “Petition Date”) by filing a voluntary

petition for relief under chapter 7 of title 11 of the United States Code (the “Bankruptcy

Code”).

               2. Steven R. Bailey is the duly qualified and acting Chapter 7 trustee in the

Bankruptcy Case.

               3. The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334.

               4. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

        B.     RMA’s Employment and Basis for Compensation.

               1. On August 30, 2021, the Trustee filed his application (the “Employment

Application”) seeking approval of his employment of Gil A. Miller and Rocky Mountain

Advisory LLC as accountants for the Trustee in the Bankruptcy Case. [Doc. # 9]

               2. On September 21, 2021, this Court entered its Amended Order Authorizing

Employment of CPA. [Doc. # 30]

               3. By virtue of the foregoing employment Order, Gil A. Miller and RMA are

currently the court-approved accountants for the Trustee.

               4. All services performed and expenses incurred for which compensation or

reimbursement is sought in this Fee Request were performed or incurred for and on behalf of the

Trustee and not for any other person or entity.


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               5. RMA has not shared or agreed to share compensation or reimbursement

awarded in the case with any other person except as among the shareholders and employees of

the firm of RMA.

               6. RMA has not made any agreements with the Trustee, the Debtor, or any other

persons or entities for compensation or reimbursement relating to the Bankruptcy Case which

have not been disclosed to the Court.

       II.     PRIOR FEE REQUESTS.

       This is the Eleventh Fee Request filed by RMA in the case as set forth below.

       III.    THE PRESENT FEE REQUEST.

       A.      Billing Methodology.

               1. In the Fee Request, RMA is requesting compensation for services provided

and reimbursement of expenses incurred during the Fee Period.

               2. RMA’s services for the Trustee in the case are billed on an hourly-rate basis,

consistent with customary charges by comparably skilled practitioners in bankruptcy and non-

bankruptcy cases.

       B.      Summary of Services Performed and Expenses incurred on Behalf of the Trustee.

               1. During the Fee Period, RMA rendered 72.80 hours of service to the Trustee

related to the case. Descriptions of the services rendered by RMA are fully detailed in the

invoice attached hereto as Exhibit A.

               2. The invoice contains a chronological listing of the tasks performed in which

RMA provided services during the billing period covered by the invoice.

               3. Below is a summary of the hours billed by each professional and costs


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advanced during the Fee Period:

                     Name of
          Professional/Paraprofessional:         Hours          Rate:       Total:
                                                 Billed:
       Dan L. Johnson                             32.60         $270.00           $8,802.00
       Heather Denison                              1.20        $230.00             $276.00
       John H. Curtis                                 .30       $315.00              $94.50
       Josh Gifford                               32.90         $255.00           $8,389.50
       Kaytee Howell                                1.80         $90.00             $162.00
       Matt H. Connors                                .70       $315.00             $220.50
       Raani Erekson                                3.30         $90.00             $297.00
            TOTAL                                  49.00                         $18,241.50


       This is RMA’s eleventh interim request under the Fee Order. Pursuant to the Fee Order,

RMA is a “Professional” authorized to request payment from the estate for services rendered and

expenses incurred during the Fee Period equal to eighty percent (80%) of the total fees sought

and one hundred percent (100%) of the expenses incurred. Payment of the requested fees and

cost is interim in nature and is subject to approval by the Court.

       In summary, RMA’s fees and expenses requested for the Fee Period and previous fee

periods are as follows:

                                                                            Total        Total paid
                                                80% of        100% of
     Month          Hours         Fees                                     Amount
                                                 Fees         Expenses
                                                                          Requested
August 23, 2021
                                                                                         $92,912.76
– November 30,     361.80     $114,551.50 $91,641.20         $1,271.56    $92,912.76
                                                                                         12/21/21
2021
December 1,
2021 -                                                                                   $23,210.03
                   100.60     $28,192.00     $22,553.60      $656.43      $23,210.03
December 31,                                                                             2/16/2022
2021
January 1, 2022
                                                                                         $22,262.78
- January 31,
                   128.00     $27,138.50     $21,710.80      $551.98      $22,262.78     3/29/2022
2022



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February 1,
                                                                                           $15,025.24
2022 - February     62.80     $17,775.50      $14,220.40     $805.84        $15,026.24
                                                                                           6/22/2022
28, 2022
March 1, 2022 -                                                                            $10,256.22
                    45.70     $12,760.50      $10,208.40     $47.82         $10,256.22
March 31, 2022                                                                             6/22/2022
April 1, 2022 -                                                                            $13,058.59
                    57.50     $16,269.50      $13,015.60     $42.99         $13,058.59
April 30, 2022                                                                             6/22/2022
May 1, 2022 -                                                                              $11,153.65
                    51.60     $13,435.00      $10,748.00     $405.65        $11,153.65
May 31, 2022                                                                               8/22/2022
June 1, 2022 –                                                                             $2,862.40
                    11.50     $3,578.00       $2,862.40      $ 0.00         $2,862.40
June 30, 2022                                                                              8/22/2022
July 1, 2022 –
                    15.10     $4,077.00       $3,261.60      $ 0.00         $3,261.60
July 31, 2022
August 1, 2022–
                    49.00     $11,339.50      $9,071.60      $56.12         $9,127.72
August 31, 2022
Sept.1, 2022 –
                    72.80     $18,241.50      $14,593.20     $13.22         $14,606.42
Sept. 30, 2022


       Pursuant to the Fee Order, any party wishing to object to this Request must file and serve

an objection to this Request within ten (10) calendar days from the date this Request is served on

the Notice Parties, as defined in Paragraph 2(d) of the Fee Order. If no objection to a Request is

timely filed and served within the Objection Period, the Trustee shall be authorized to make

payment as requested in this Request promptly upon the expiration of the Objection Period. Any

objection to this Request must have a description of the specific subject matter and services in

dispute and state the amount in dispute. It shall not be sufficient simply to object to all fees and

expenses.




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                Accordingly, RMA respectfully submits this Request, and requests payment as set

forth herein.

       DATED this 26th day of October, 2022.

                                                    ROCKY MOUNTAIN ADVISORY, LLC


                                                    /s/ John Curtis
                                                    John Curtis
                                                    Dan L. Johnson
                                                    Accountants for the Trustee




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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 26th day of October, 2022, a true and correct copy of the
foregoing Eleventh Interim Monthly Fee Request of Rocky Mountain Advisory, LLC.,
Accountants For The Trustee (September 1, 2022 through September 30, 2022) was
electronically filed and therefore served via ECF on the following:
   •   B. Scott Allen coley@mvmlegal.com
   •   Rod N. Andreason randreason@kmclaw.com, mkowalczyk@kmclaw.com
   •   Steven R. Bailey tr karen@baileylaw.org, UT06@ecfcbis.com
   •   Megan K Baker baker.megan@dorsey.com
   •   Matthew M. Boley mboley@ck.law, klopez@ck.law
   •   Daniel K. Brough dbrough@btjd.com, hollyv@btjd.com;docketing@btjd.com
   •   Ryan C. Cadwallader rcadwallader@kmclaw.com, twhite@kmclaw.com
   •   Deborah Rae Chandler dchandler@aklawfirm.com
   •   P. Matthew Cox mw@scmlaw.com, ec@scmlaw.com
   •   Douglas Farr dfarr@buchalter.com, docket@buchalter.com
   •   Bryan T. Glover bryan.glover@stoel.com, lisa.petras@stoel.com
   •   Michael F. Holbein mholbein@sgrlaw.com
   •   Armand J. Howell armand@hwmlawfirm.com,
       armand@ecf.courtdrive.com;meghan@ecf.courtdrive.com
   •   Chad Johnson chad@idahojobjustice.com,
       dunja@idahojobjustice.com;robyn@idahojobjustice.com;kati@utahjobjustice.com
   •   Michael R. Johnson mjohnson@rqn.com, docket@rqn.com;ASanchez@rqn.com
   •   David H. Leigh dleigh@rqn.com, ASanchez@rqn.com;docket@rqn.com
   •   Christopher J Martinez martinez.chris@dorsey.com
   •   Jason A. McNeill mcneill@mvmlegal.com, coley@mvmlegal.com
   •   Blake D. Miller bmiller@aklawfirm.com,
       millermobile@gmail.com;miller.blaked@gmail.com
   •   Stuart J. Miller sjm@lankmill.com
   •   Gregory S. Moesinger gmoesinger@kmclaw.com, tsanders@kmclaw.com
   •   Austin Nate anate@rqn.com, ajohnson@rqn.com
   •   Darren B. Neilson dneilson@parsonsbehle.com
   •   Mary E. Olsen molsen@thegardnerfirm.com
   •   Ellen E. Ostrow eostrow@foley.com,
       docketclerk@stoel.com;michelle.smock@stoel.com
   •   Mark C. Rose mrose@mbt-law.com, markcroselegal@gmail.com
   •   Brian M. Rothschild brothschild@parsonsbehle.com,
       ecf@parsonsbehle.com;docket@parsonsbehle.com
   •   Jeffrey Weston Shields jshields@rqn.com,
       5962725420@filings.docketbird.com;docket@rqn.com,tzimmerman@rqn.com
   •   Jeremy C. Sink jsink@kmclaw.com, mcarlson@kmclaw.com
   •   Mark S. Swan mswan@strongandhanni.com, mark@swanlaw.net
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   •      Richard C. Terry richard@tjblawyers.com, cbcecf@yahoo.com
   •      Jeffrey L. Trousdale jtrousdale@cohnekinghorn.com, mparks@ck.law
   •      United States Trustee USTPRegion19.SK.ECF@usdoj.gov
   •      Aaron M. Waite aaronmwaite@agutah.gov

          I further certify that on the 26th day of October, 2022, a true and correct copy of the
foregoing was served via email as follows:
          USTPRegion19.SK.ECF@usdoj.gov


                                                        /s/     Carrie Hurst




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                EXHIBIT A
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Rocky Mountain Advisory LLC
15 West South Temple, Suite 500
Salt Lake City, UT 84101
(801) 428-1600
                                                                                             October 07, 2022

Steven Bailey, Trustee
Bailey Law
PO Box 1828
Layton, UT 84041
                                                                                       Invoice Number: 16047
                                                                       Invoice Period: 09-01-2022 - 09-30-2022
Payment Terms: Net 15

RE: Empire Solar Group Bankruptcy

Bankruptcy Estate of Empire Solar Group, LLC



Time Details
Date         Staff Member     Description                                          Hours     Rate     Amount
Case Administration
09-01-2022 DLJ                Continue search for requested data for 401k           0.70   270.00       189.00
                              audit.
09-01-2022 DLJ                Communications regarding insurance issues and         0.20   270.00        54.00
                              potential claim.
09-02-2022 DLJ                Communications regarding 401k audit and               0.20   270.00        54.00
                              issues.
09-06-2022 DLJ                Review and discuss summons and document               1.30   270.00       351.00
                              request and review documents provided to date (.
                              6). Begin search for documents and information
                              (.7).
09-07-2022 DLJ                Work on document and information search for           1.70   270.00       459.00
                              subpeona.
09-08-2022 DLJ                Email and phone call with Click Solar regarding       0.30   270.00        81.00
                              release of plans from Fort Collins to complete
                              subcontracted project for Empire.
09-09-2022 DLJ                Reconnect server to gain access to data for 401k      1.30   270.00       351.00
                              audit (1.1). Communications with G. Reynolds
                              regarding the same (.2).
09-12-2022 DLJ                Work on access to server and data for 401k            1.10   270.00       297.00
                              audit (.6). Search for data related to the same (.
                              5)
09-13-2022 DLJ                Continue search for data on server for 401k audit.    0.60   270.00       162.00
09-14-2022 DLJ                Copy QuickBooks file from server and search           1.80   270.00       486.00
                              files to determine if it contains needed W-2's and
                              paystubs (.8). Communications with S. Bailey
                              regarding 401k audit and issues (.2). Search
                              email files for W-2's and paystubs (.4).
                              Communications with staff regarding the same (.
                              4).
09-22-2022 DLJ                Search server for requested 401k audit (.5). Call     3.80   270.00     1,026.00
                              with QuickBooks regarding W-2's (.5). Download
                              backup of QuickBooks and open it in older
                                                                                               Page   1 of 5
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Date          Staff Member           Document
                             Description           Page 11 of 14      Hours                Rate     Amount
Case Administration
                             version of QuickBooks to see if W-2's or paystub
                             data available (.6). Identify and pull various
                             reports and paystubs (1.1).            Draft email
                             regarding the same (.3). Compile requested
                             documents and information for 401k audit (.8)
09-23-2022 DLJ               Continue to pull payroll reports and paycheck         1.20   270.00     324.00
                             details for certain individuals and provide for
                             401k audit.
09-26-2022 DLJ               Multiple communications with A. Roseburg              2.90   270.00     783.00
                             regarding W-2's (.3). Search in emails based on
                             communications from A. Roseburg in search of
                             W-2's (1.5). Communications with D. Nesbit
                             regarding requested data for 401k audit (.3).
                             Create and upload requested reports (.8).
09-27-2022 DLJ               Communications with A. Roseburg regarding             0.40   270.00     108.00
                             W-2 recreation and set up meeting time.
09-28-2022 DLJ               Call with QuickBooks regarding W-2 reporting          2.40   270.00     648.00
                             and issues and updates to QuickBooks related to
                             the same (1.7). Create various reports related to
                             401k audit (.5). Communications with D. Nesbrt
                             regarding 401k audit and issues (.2)
09-29-2022 DLJ               Work on creation of W-2 reports for 401k audit.       0.50   270.00     135.00
09-30-2022 DLJ               Run QuickBooks W-2 report after QuickBooks            0.30   270.00      81.00
                             error caused initial report to not be completed.
                                                                                  20.70             5,589.00
Fee Applications
09-19-2022 DLJ               Review and make updates to invoices for fee           0.40   270.00     108.00
                             application.
09-27-2022 RE                Preparation of third interim fee application.         2.80    90.00     252.00
09-28-2022 RE                After review, make corrections and send to            0.50    90.00      45.00
                             counsel for filing.
09-28-2022 DLJ               Review and discuss fee application.                   0.20   270.00      54.00
09-28-2022 JHC               Reviewed third interim fee application and            0.30   315.00      94.50
                             provided comments and changes to R. Erekson.
                                                                                   4.20              553.50
Litigation Consulting
09-09-2022 DLJ               Search and review emails and attachments for          1.50   270.00     405.00
                             requested data from subpoena (.7). Review
                             relevant documents and files related to the same
                             (.4).      Review emails and communications
                             regarding previously provided data and draft
                             email to counsel regarding the same (.4).
09-14-2022 DLJ               Compile and review documents related to Silfab        1.30   270.00     351.00
                             subpeona (.4). Review and compare transaction
                             listings related to the same to RMA preference
                             analysis (.6). Identify and discuss issues related
                             to the same (.3).
09-15-2022 DLJ               Review and discuss summons (.2). Review               0.60   270.00     162.00
                             additional documents related to Silfab analysis (.
                             4).
09-16-2022 DLJ               Work on Silfab preference action.                     1.10   270.00     297.00
09-20-2022 DLJ               Work on AMEX analysis and issues.                     1.40   270.00     378.00
09-21-2022 DLJ               Work on updates to AMEX analysis.                     0.50   270.00     135.00
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                             Description           Page 12 of 14      Hours                Rate      Amount
Litigation Consulting
09-22-2022 DLJ               Follow-up on subpoena issues.                         0.20   270.00       54.00
09-26-2022 DLJ               Review and discuss Krannich subpoena and              1.40   270.00      378.00
                             response (.9). Search hard copy files related to
                             the same (.5).
09-27-2022 DLJ               Review and discuss subpeona and related               0.40   270.00      108.00
                             issues.
09-30-2022 DLJ               Review document request from Krannich and             1.60   270.00      432.00
                             email from counsel regarding the same (.2).
                             Draft response email including documents
                             provided to date (.2). Compile emails and files
                             for delivery related to the same (.5). Perform
                             additional searches and upload documents for
                             delivery (.7)
                                                                                  10.00              2,700.00
Tax Work
09-01-2022 JG                Review and reconcile retained earnings and            2.60   255.00      663.00
                             Form 2 adjustments to the profit and loss
                             statement.
09-02-2022 JG                Review and update accounting and journal              7.50   255.00     1,912.50
                             entries to combine trustee activity with pre-
                             petition operations.
09-05-2022 JG                Review and update tax disclosures, Form 3115,         6.30   255.00     1,606.50
                             depreciation, and prepare form 8594.
09-06-2022 JG                Review and update asset sale reporting and            4.10   255.00     1,045.50
                             prepare state specific disclosures.
09-06-2022 DLJ               Meetings with staff regarding tax issues (.2).        0.80   270.00      216.00
                             Research issues related to the same (.5).
                             Communications with G. Miller regarding the
                             same (.1).
09-07-2022 JG                Calculate accrual to cash adjustment and              6.10   255.00     1,555.50
                             remove 481(a) adjustment and update federal
                             return.
09-08-2022 JG                Review remaining state returns.                       1.30   255.00      331.50
09-08-2022 DLJ               Meetings with staff to discuss tax issues (.2).       0.50   270.00      135.00
                             Research issues related to the same (.3).
09-09-2022 MHC               Discuss various issues related to the 2021 tax        0.70   315.00      220.50
                             return with J. Gifford.
09-09-2022 JG                Final review 2021 tax returns (1.6). Discuss with     2.30   255.00      586.50
                             M. Connors (.7).
09-14-2022 JG                E-file federal and state returns and prepare state    2.70   255.00      688.50
                             bankruptcy copies for mailing.
09-14-2022 HD                Called Utah Tax Technical unit to discuss steps       1.20   230.00      276.00
                             needed to file necessary returns (.6). Compile
                             information needed to file Utah State
                             Withholdings (.6).
09-14-2022 KH                Prepared and mailed bankruptcy forms and tax          1.80    90.00      162.00
                             returns to bankruptcy departments in multiple
                             states.
                                                                                  37.90              9,399.00
                                                                                  Total             18,241.50

Time Summary


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Steven Bailey, Trustee
Bailey Law
PO Box 1828
Layton, UT 84041
                                                                                                    October 07, 2022
Rocky Mountain Advisory LLC
15 West South Temple, Suite 500
Salt Lake City, UT 84101
                                                                                            Invoice Number: 16047
                                                                            Invoice Period: 09-01-2022 - 09-30-2022

                                            REMITTANCE COPY
RE: Empire Solar Group Bankruptcy
                                                                                                Fees           18,241.50
                                                                                           Expenses               13.22
                                                                               Total for this Invoice          18,254.72
                                                                           Previous Invoice Balance            18,875.22
                                                                Total Amount to Pay as of 10-25-2022           37,129.94




Project                                                                                                   Balance Due
Empire Solar Group Bankruptcy                                                                                  37,129.94
                                                                                  Total Amount to Pay          37,129.94


Open Invoices and Credits
Date         Transaction        Project                                         Amount         Applied          Balance
06-02-2022   Invoice 15779      Empire Solar Group Bankruptcy                 13,840.65     (11,153.65)         2,687.00
07-11-2022   Invoice 15806      Empire Solar Group Bankruptcy                  3,578.00      (2,862.40)           715.60
08-16-2022   Invoice 15902      Empire Solar Group Bankruptcy                  4,077.00                         4,077.00
09-06-2022   Invoice 15989      Empire Solar Group Bankruptcy                 11,395.62                        11,395.62
10-07-2022   Invoice 16047      Empire Solar Group Bankruptcy                 18,254.72                        18,254.72
                                                                                               Balance         37,129.94




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